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                             UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK


 A VRAHAM GOLDSTEIN, et al.,
                                                      Case No. 1:22-cv-00321-PAE
          Plaintiffs,
                                                      (Hon. Paul A. E ngelmayer)
 V.



 PROFESSIONAL STAFF CONGRESS/CUNY, et aL,             PLAINTIFF AVRAHAM
                                                      GOLDSTEIN'S NOTICE OF
          Defendants.                                 ACCEPTANCE OF DEFENDANT
                                                      CITY OF NEW YORK'S OFFER OF
                                                      JUDGMENT

       Plaintiff Avraham Goldstein, through his undersigned counsel, hereby provides notice that

he has accepted Defendant City of New York's Offer of Judgment dated April 22, 2022, attached

hereto as Exhibit A.




Dated: November 2, 2022

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                                                    Facsimile: 703.321.9319

                                                    Attornrys for Plaintiffs
       Case 1:22-cv-00321-PAE Document 76 Filed 11/02/22 Page 2 of 2




                                   CERTIFICATE OF SERVICE

        I, the und ersigned, hereby certify that on this date, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court's

CM/ ECF sys tem.



Dated: November 2, 2022
                                                        ~ Email: ojmcgrath@ fairnessceoter.org
                                                          THE FAIRNESS CENTER
                                                          500 North Third Street, Suite 600B
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                                                         Attornry for Plaintiffs
